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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                      v.                     )      CASE NO. 3:16-cr-83-LSC
                                             )
JACINTO TARON ROBINSON                       )

                           MEMORANDUM OPINION AND ORDER

       Pending before the court is Defendant Jacinto Taron Robinson’s Motion for Extension of

Time (Doc. 253, filed December 14, 2016). The motion was referred to the Magistrate Judge to

conduct an evidentiary hearing and develop the record on the issue presented. The oral referral

was later reflected in the written order issued on January 23, 2017. See Doc. 272. After

consideration of the motion and the evidence presented at the hearing on January 19, 2017, it is

hereby ORDERED that the reference of the motion is terminated and the motion for an extension

to file the notice of appeal is GRANTED.

                                  I.       PROCEDURAL HISTORY

       On January 19, 2017, the Magistrate Judge convened an evidentiary hearing on the

motion to determine whether good cause existed to extend the 14-day time limit to file a notice

of appeal in this matter. A brief discussion on the timeline of this case establishes the need for

the Defendant’s motion.

       On November 10, 2016, the court held its sentencing hearing, denied both motions for

variance, and announced orally the sentence to be imposed on Defendant Robinson. For the

purposes of this case, the date of the oral announcement of sentence shall be considered Day 0

minus 12 days for the purposes of the appeal and analysis. On November 21, 2016, counsel for

defendant filed a Motion for Reconsideration of Sentence. See Doc. 237. In the motion,

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Defendant requested consideration of the previously orally announced sentence. Id. The date of

the Motion for Reconsideration shall be considered Day 0 minus 1 day. The next day, the Court

entered its official Judgment against defendant Robinson. See Doc. 238. This date – November

22, 2016 – is Day 0 for purposes of appeal and analysis. At that time, the Court had not yet ruled

upon the Motion for Reconsideration. On December 12, 2016, the Court issued its order denying

the Motion for Reconsideration. See Doc. 252. On December 14, 2016, which is Day 22 for

purposes of appeal and analysis, counsel for defendant Robinson filed the Motion for Extension

of Time to File Notice of Appeal along with a Notice of Appeal. See Docs. 253-254. Therefore,

the Notice of Appeal was thus filed 8 days beyond the 14-day time limit for appeals.

                                      II.       FACTUAL FINDINGS

       On the record, Defense Counsel stated that she was under the erroneous impression that

her Motion for Reconsideration of Sentence (Doc. 237) tolled the time for a timely appeal

inasmuch counsel thought that if the court were to grant the Motion for Reconsideration of

Sentence (Doc. 237) it would cause the resentencing of her client which would in turn trigger a

new 14-day period to file a notice of appeal.          Counsel and Defendant Robinson said that

immediately after the Court imposed its oral sentence, defendant Robinson told his lawyer un-

equivocally to file an appeal on his behalf.

                                     III.      Conclusions of Law

       Day 0 (November 22, 2016) is the date which triggers the timeline for appealing this

case. See FED. R. APP. P. 4(b)(1)(A)(i); FED. R. CRIM. P. 45. A timely notice for appeal was thus

due on or before Day 14 for purposes of appeal and analysis – in this case December 6, 2016.

Therefore, it is undisputed that Defendant’s Notice of Appeal (Doc. 254) filed on December 14,

2016 was untimely.



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       Upon a finding of excusable neglect or good cause, Federal Rule of Appellate Procedure

4(b)(4) permits the district court to extend the time to file a notice of appeal for a period not to

exceed 30 days from the expiration of the time established by the rule. In this case, the Court

may extend the deadline up to December 22, 2016. While the Notice of Appeal was filed 8 days

beyond the normal 14-day time limit for appeals, the Court credits the statements of defense

counsel and defendant Robinson that they always intended to appeal and simply misunderstood

that the Motion to Reconsider did not toll the timeline. Therefore, the Court finds excusable

neglect and good cause to grant defendant Robinson the opportunity to appeal and deems timely

the Notice of Appeal.

       Based on the above, the Motion for Extension of Time (Doc. 253) is GRANTED.

               DONE and ORDERED on February 17, 2017.



                                                  _____________________________
                                                         L. Scott Coogler
                                                   United States District Judge
                                                                                            173538




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